Case 5:18-cv-00098-RWS-C|\/|C Document 7 Filed 08/27/18 Page 1 of 3 Page|D #: 24

Eastem District of Texas - Texarkana Division, Texas
500 N STATE LINE AVE TEXARKANA TX 75501

CASE #: 5:18-CV-00098

JOE HAND PROMDTIONS, INC.

Plaintiff

VS

MI CASITA SOCIAL CLUB, INC,, D/B/A MI CASITA SOCIAL CLUB AND D/B/A MI CASITA MEXICAN
RESTAURANT, BLANCA E GARCIA, AGUSTIN VBLLE AND SANDRA R RAMIREZ

Defendant
moliva OF SERVICE

 

I, BILL MCNUTT, make statement to the fact;

That I am a competent person more than 18 years of age or older and not a party to

this action, nor interested in outcome of the sui That I received the documents stated
below on <B"\\-- \<P) , Time: '\O` .00 ina instructing for same to be delivered
upon Mi Casita Social Ciub, Inc. , D/B/A Mi Casita Social Club, And D/B/A_Mi Casita Mexican
Restanrant By Delivering To lts Registered Agent Blanca E. Garcia,

That I delivered to : Mi Casita Social Club, Inc., D/B/A Mi Casita Social Club,
And D/B/A Mi Casita Mexican Restaurant By Deliverinq To lts
Registered Agent Blanca E. Garcia.

the following : SUMMONS IN A CIVIL ACTION; COMPLAINT; CIVIL COVER SHEET.

at this address : 300 SE Access Rd
Mount Vernon, Titns County, Tx 75457

Manner of Delivery : By PERSDNALLY delivering the docnment(s) to the person
above.
Delivered on : Satorday August ll, 2018 3:0l pm

l SOLEMNLY AFFIRM under the penalties of perjury that the contents of the foregoing
paper are true and correct

ExEcuTED BY: n /’/`»/:/)%`§ >M/

Teyas Certificatiod/: PSC 2322 Exp. 11/30/2018
On this day BILL MCNUTT appeared before me, a notary publio, and being duly sworn by
me stated that he/she has personal kncwledge of the facts set forth in the foregoing

affidavit and declared that the facts contai ed th 'n are rue and correct. Given
my hand and seal of office this y_.§ `day ofWZ 01 .

PCP Inv#: AXXXXXXXX

Reference : JHP-lB-lB~MI CASITA C:::XF<LCLAJL)Oe) \§;\Q\qu§§§:\\\\h;:§ij;::

bioer PUBLIC \, ‘~*\

+ Service Fee: 125.00

 

Witness Fee: .00 RETURN TO CLIENT
Mileage Fee: .00
Kinq, Jamie ` ` _usa.net

 
 
 
 

  

KAREN MGNUTT
Notary Public Slale of lsan
My cumission# 1219343”3
mycnmm EMMS©PF4ZMB

 
    

 

 

 

 

 

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s Case 5:18-cv-00098-RWS-C|\/|C Document 7 Filed 08/27/18 Page 2 of 3 Page|D #: 25

AG 440 (Rev. 06/l2) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

Eastern District of TeXas

Joe Hand Promotions, lnc.,

 

PIaz'mi/Y(s)

V~ Civil Action No. 5118-cV-00098

Mi Casita Social Club, lnc., et ai.,

 

Vv/`/\_/\./‘~/\/V"d/\/V\../

.Defendant(s)

SUMMONS IN A CIVIL ACTION

TOZ (Defendant’.s‘ frame and add)'ess}` lVll CASlTA SOC|AL CLUB, lNC.,
d/b/a lVll CAS|TA SOC|AL CLUB and
d/b/a lV|l CAS|TA MEX|CAN RESTAURANT
By sewing its Registered Agent, Blanca E. Garcia
615 W, IH 30
Mount Vemon, Texas 75457

A lawsuit has been filed against you.

Within 21 days alter service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. Tlie answer or motion must be served on the plaintiff or plaintiff s attorney,
Whose name and address are: .lamie King

Jamie King, P.C.
P.O. Box 5757
Kingwood, Texas 77325

lf you fail to respond, judgment by default Will be entered against you/for the relief demanded in the complaint
You also must file your answer or motion vvith the court

CLERK OF COURT

Date: 8/1/18 (,®auw,g> A Q`\€go£»°-

 

Sz`gnature ofClerk or D€puty Clerk

 

 

` x Case 5:18-cv-00098-RWS-C|\/|C Document 7 Filed 08/27/18 Page 3 of 3 Page|D #: 26
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 5:18-cv-00098

PROOF OF SERVICE
( T his section should not be filed with the court unless required by Fed. _R. Civ. P. 4 (0)

ThlS SllmmO¥!S i`Ol' l(ruzme Of individual and title, ¢'fany)

 

was received by me on (dare)

l:l l personally served the summons on the individual at (place)

 

011 (dale) ; Or

 

l'_'| l left the summons at the individual’s residence or usual place of abode With (name)

, a person of suitable age and discretion Who resides there,

 

 

on (daze) , and mailed a copy to the individual’s last known address; or

ij l served the summons on (name of individual)‘ ` , who is

 

designated by law to accept service of process on behalf of maine aforgani:azion)

 

 

 

On (date) ; 01”
l'_`l l returned the summons unexecuted because ; or
ij th€,i‘ _(specijjj:
My fees are S for travel and $ for services, for a total of $ 0.00

Date:

 

Server ’S signature

 

P)'inted name and title

 

Server "S address

Additional information regarding attempted service, etc:

